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Via CM/ECF

December 19, 2017

Hon. Marvin J. Garbis

Edward A. Garmatz Courthouse
Chambers 5C

101 W. Lombard Street
Baltimore, Maryland 21201

Re: ChargePoint, Inc. v. SemaConnect, Inc.
Civil Action No.: MJG-17-3717

Dear Judge Garbis:

Plaintiff ChargePoint, lnc., respectfully requests the Court schedule a hearing to consider plaintiffs
Motion for Emergency lnjunctive Relief (ECF 7).

ChargePoint, which is the market leader in electric vehicle charging technology, initiated the above-
captioned lawsuit on Friday, December 15, 2017, to protect its intellectual property against patent
infringement by defendant SemaConnect, Inc. ECF 1.l SemaConnect is in the process of entering into
contracts to deploy at least $16 million in infringing charging Stations and related infrastructure to
customers over the next 90 days, and to provide services related to those products for eight years. Id. 11 2.
Notably, defendant will provide these products and services to customers free of charge-thus making it
difficult, if not impossible, for ChargePoint to compete with SemaConnect’s infringing conduct. Ia'.

As explained more fully in the l\/lotion for Emergency Injunctive Relief (ECF 7) and accompanying
memorandum of law (ECF 7-1), ChargePoint is at risk of immediate irreparable harm in the absence of an
order enjoining SemaConnect’s unlawful behavior. Because charging stations are fixtures, once
SemaConnect installs an infringing station, ChargePoint will be effectively shut out from that customer for
nearly a decade_most of the life of the infringed patents. As a result, ChargePoint faces a substantial risk
of lost market share, price erosion, lost goodwill, and lost downstream sales.

 

l The case was initially assigned to Judge Bredar and was reassigned to Judge Xinis on December
18, 2017. lt was then reassigned to your Chambers on December 18, 2017.

On December 15, 2017, ChargePoint served SemaConnect, by hand delivery, copies of the
Complaint (ECF 1) and Motion for Emergency lnjunctive Relief (ECF 2). See Cohen Dec., 111 2-3, Ex. A.

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SemaConnect’s conduct following the initiation of this lawsuit has crystalized the urgency of the
Motion. Yesterday, December 18, 2017, after it was first notified of this lawsuit, SemaConnect issued a
press release (Cohen Dec., 11 7, Ex. D) detailing its plans to “build a premier network of workplace and
multifamily EV charging stations in 12 cities across the United States” using infringing products. Id. lt
promised to provide “on-going network and maintenance services for the duration of the program.” Ia’.
This press release strongly suggests that SemaConnect is prepared to proceed with its installation and
service of infringing products without regard to this action and the requested temporary injunction

Although counsel has not entered an appearance on behalf of defendant, on December 18, 2017,
ChargePoint effected formal service of the Complaint and also served the l\/lotion by hand delivery. See
ECF 14; Cohen Dec., 1111 3-6, Exs. B, C. Accordingly, defendant has been afforded the notice required to
eliminate the heightened procedural requirements for ex parte orders in Fed. R. Civ. P. 65(b)(1) and (b)(2).
See 11A C. WRIGHT & A. MILLER, FED. PRACTICE & PRoCEDURE, § 2951 (3d ed.) (“When the opposing
party actually receives notice of the application for a restraining order, the procedure that is followed does
not differ functionally from that on an application for a preliminary injunction and the proceeding is not
subject to any special requirements.”); see also Kelly v. Moyer, RDB-16-4143, 2017 WL 3500394, at *5
(D. l\/Id. Aug. 14, 2017) (“A preliminary injunction is distinguished from a TRO only by the difference
in notice to the nonmoving party and by the duration of the injunction.”).w

In view of the foregoing, plaintiff respectfully requests the Court schedule a hearing on the Motion,
to be held at the Court’s first convenience ChargePoint is prepared to proceed on Thursday, December
21, 2017, and Friday, December, 22, 2017. Should neither of those dates be available for a hearing,
ChargePoint is available at the Court’s convenience for a telephone conference to discuss a schedule. ln
addition, ChargePoint remains willing to enter into an agreement with SemaConnect to maintain the status
quo pending a preliminary injunction hearing, which would moot the need for a temporary restraining
order. Thank you.

Very truly

    

Cc (by First Class U.S. Mal`l, Postage Pre-Paid, and email):

SemaConnect, Inc.,

4961 Tesla Drive,

Bowie, MD 20715

Attn: Mahidhar Reddy, Suite A
<mreddy@semaconnect.com>

Enclosures

